     6:20-cv-00124-RAW-SPS Document 88 Filed in ED/OK on 01/22/21 Page 1 of 2




              IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF OKLAHOMA


BRANDON L. BROWN,                              )
                                               )
               Plaintiff,                      )
                                               )
v.                                             )           CIV-20-124-RAW-SPS
                                               )
JAMES YATES, et al.,                           )
                                               )
               Defendants.                     )


     ORDER STAYING PROCEEDINGS AND REQUIRING SPECIAL REPORT

        The court has determined that an investigation and report would be helpful in

determining whether there are any factual or legal bases for Plaintiff’s claims. See Hall v.

Bellmon, 935 F.2d 1106 (10th Cir. 1991); Martinez v. Aaron, 570 F.2d 317 (10th Cir. 1978).

        ACCORDINGLY, IT IS HEREBY ORDERED that:

        (1)    Officials responsible for the institution(s) involved in the alleged civil rights

               violation shall undertake a review of the subject matter of the complaint:

               (a)    to ascertain the facts and circumstances;

               (b)    to consider whether any action can and should be taken by the

                      institution(s) or other appropriate officials to resolve the subject matter

                      of the complaint; and

               (c)    to determine whether other like complaints, whether pending in this

                      court or elsewhere, are related to this complaint and should be taken up

                      and considered together.

        (2)    In the conduct of the review, a written report shall be compiled and filed with
6:20-cv-00124-RAW-SPS Document 88 Filed in ED/OK on 01/22/21 Page 2 of 2




         the court. Authorization is granted to interview all witnesses including

         Plaintiff and appropriate officers of the institution(s). Wherever appropriate,

         medical or psychiatric examinations shall be made and included in the written

         report. Any rules and regulations pertinent to the subject matter of the

         complaint shall be included in the written report.

   (3)   All pending motions in this case are hereby stricken without prejudice. No

         applications, motions, or discovery should be filed or considered until the steps

         set forth in this Order have been completed, except as the court further orders.

   (4)   It is desired that the report made in the course of this investigation be attached

         to and filed with Defendants’ answer or dispositive motion. The report and

         Defendants’ answer or dispositive motion, shall be filed no later than sixty

         days from this date.


   IT IS SO ORDERED this 22nd day of January, 2021.




                                      _____________________________________
                                      STEVEN P. SHREDER
                                      UNITED STATES MAGISTRATE JUDGE




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